              Case 5:19-cv-01469-OLG Document 11 Filed 01/27/20 Page 1 of 2


                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

STEPHANIE RISTOW                   §
                                   §
vs.                                §                        NO: SA:19-CV-01469-OLG
                                   §
TEXAS LAUREL RIDGE HOSPITAL, L.P., §
UHS OF DELAWARE, INC.,             §
RODNEY NORMAN                      §


                                           ORDER AND ADVISORY

        Before the Court is the above-styled and numbered cause. The Court has received Defendant(s) Answer
and therefore enters the following Order and Advisory:

        It is ORDERED that the Plaintiff(s) confer with the Defendant(s) as required by Fed.R.Civ.P 26(f) and
Local Court Rule CV-16(c) to submit a proposed scheduling order for the Court's consideration within forty-five
(45) days of the filing of this Order. Failure to do so may result in the Court's entering its own scheduling order.

        At the request of the Bar, the San Antonio District Judges have implemented a procedure whereby a
United States Magistrate Judge is assigned to each civil case at the time it is filed. The assignments are made
randomly and are evenly divided among the three San Antonio Magistrate Judges. If a pretrial matter is referred
by the District Judge, it will be handled by the United States Magistrate Judge to whom the case is assigned.
Similarly, if the parties consent to Magistrate Judge jurisdiction, the case will be placed on the docket of the
assigned Magistrate Judge for all future proceedings, including entry of final judgment. 28 U.S.C. Section
636(c). The Magistrate Judge assigned to this case is Henry J. Bemporad.

         So that this Court may more efficiently manage its docket, the parties are hereby ORDERED to notify
the Court whether or not they consent, under 28 U.S.C. Section 636(c), to Magistrate Judge jurisdiction.
Therefore, within thirty (30) days of the date of the filing of this Order, each party shall sign the attached form
to be filed with the Clerk's Office.



             SIGNED AND ENTERED this 27th day of January, 2020.



                                                      ______________________________
                                                      ORLANDO L. GARCIA
                                                      CHIEF U.S. DISTRICT JUDGE
                  Case 5:19-cv-01469-OLG Document 11 Filed 01/27/20 Page 2 of 2



AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS
                                             SAN ANTONIO DIVISION

STEPHANIE RISTOW                                                    §
vs.                                                                 §         NO: SA:19-CV-01469-OLG
TEXAS LAUREL RIDGE HOSPITAL, L.P.,                                  §
UHS OF DELAWARE, INC.,                                              §
RODNEY NORMAN                                                       §

               NOTICE, CONSENT/NON CONSENT, AND REFERENCE OF A CIVIL ACTION
                                  TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this court.
A magistrate judge may exercise this authority only if all parties voluntarily consent.

        Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial
proceedings.

         Non Consent to a magistrate judge’s authority. The following parties do not consent to have a United
States magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all
post-trial proceedings.

Parties’ printed names                                         Signatures of parties or attorneys                        Dates




                                                 Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.
Date:
                                                                                            District Judge’s signature



                                                                                             Printed name and title
